                                         SUPPLEMENTAL
                            TRUSTEE’S PROPOSED DISTRIBUTION


                                                                                                         Exhibit D

Case No. 18-02635 EAG
Case Name: NELSON MONSERRATE DAVILA
Trustee Name: WIGBERTO LUGO-MENDER

                  Balance on hand                                                            $            2,909.35

        Claim of secured creditors will be paid as follow:

  Claim No.      Claimant                       Claim            Allowed      Interim      Proposed
                                                Asserted         Amount       Payment to   payment
                                                                 Of Claim     Date
  2                                             $          83.09 $      83.09 $       0.00 $      83.09
                 CRIM
                                                $       5,202.17   $       0.00    $         0.00    $         0.00
                 COOPERATIVA A/C LAS
  3A             PIEDRAS
                                                $ 96,028.07        $       0.00    $         0.00    $         0.00
                 BANCO POPULAR AS
                 SERVICE AGENT FOR
  4              POPULAR MORTGAGE


                  Total to be paid to secured creditors:                                     $               83.09

                  Remaining Balance:                                                         $            2,826.26


        Application for chapter 7 fees and administrative expenses have been filed as follow:

               Reason/ Applicant                    Total Requested    Interim Payments          Proposed
                                                                       to Date                   Payment
  Trustee Fees: WIGBERTO LUGO-                      $       2,850.46   $          2,850.46       $            0.00
  MENDER
  Trustee Expenses: WIGBERTO LUGO-                  $         386.71   $           386.71        $            0.00
  MENDER


                  Total to be paid to secured creditors:                                     $             2,826.26

                  Remaining Balance:                                                         $             2,826.26



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         Application for prior chapter fees and administrative expenses have been filed as follow:


                                                    NONE


        In addition to the expense of administration listed above as may be allowed by the Court, priority
claims totaling $2,667.64 must be paid in advance of any dividend to general (unsecured creditors.

         Allowed priority claims are:

  Claim No.                                          Allowed Amount     Interim Payment    Proposed
                  Claimant                           Of Claim           to Date            payment

  8-1A            DEPARTMENT OF                      $           0.00   $           0.00 $              0.00
                  TREASURY

  8-2A            DEPARTMENT OF                      $       2,667.64   $           0.00   $         2,667.64
                  TREASURY


                  Total to be paid to priority creditors:                             $              2,667.64

                  Remaining Balance:                                                  $               158.62


        The actual distribution to wage claimants included above, if any, will be proposed payment less
applicable withholding taxes (which will be remitted to the appropriate taxing authorities)

        Timely claims of general (unsecured) creditors totaling $36,917.51 have been allowed and will be
paid pro rata only after all allowed administrative and priority claims have been paid in full. The timely
allowed general (unsecured) dividend is anticipated to be 40.4 percent, plus interest (if applicable)

         Timely allowed general (unsecured) claims are as follow:

  Claim No.       Claimant                           Allowed Amount Interim Payment Proposed
                                                     Of Claim         to Date          payment
  1               FIRST BANK                         $       9,028.23 $       3,604.20 $       38.79

  3B              COOPERATIVA A/C LAS                $      17,911.61   $       7,150.57   $            76.96
                  PIEDRAS
  5               SYNCHRONY BANK                     $       1,503.82   $         600.35   $             6.46

  6               SYNCHRONY BANK                     $       5,686.52   $       2,270.14   $            24.43




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  Claim No.       Claimant                          Allowed Amount Interim Payment Proposed
                                                    Of Claim         to Date          payment
  7               PYOD, LLC ITS                     $       2,787.33 $       1,112.74 $       11.98
                  SUCCESSORS AND
                  ASSIGNS AS ASSIGNEE
  8-1B            DEPARTMENT OF                     $               0.00   $       0.00    $          0.00
                  TREASURY


                  Total to be paid to general unsecured creditors:                   $             158.62

                  Remaining Balance:                                                 $                0.00


        Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
have been paid in full. The tardily filed claim dividend is anticipated to be 0.00 percent

         Tardily filed general (unsecured) claims are as follows:


                                                   NONE


        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
subordinated unsecured claims is anticipated to be 0.0 percent.

        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
subordinated by the Court as follows:

  Claim No.       Claimant                          Allowed Amount Interim Payment Proposed
                                                    Of Claim       to Date         payment
  8-1B            DEPARTMENT OF                     $         0.00 $          0.00 $        0.00
                  TREASURY


                  Total to be paid to secured creditors:                             $                0.00

                  Remaining Balance:                                                 $                0.00




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